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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
v. )
SALLY ANN JOHNSON, }
Defendant, Court No, 1:17-CR-10265-001-DJC
and ,
BANK OF AMERICA, N.A., ;
Gamishee. )
ANSWER OF THE GARNISHEE

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Michael Det

(Affiant)

 

, being duly sworn deposes and says:

IF GARNISHEE IS AN INDIVIDUAL:

That he/she is Garishee herein doing business in the name of

 

(State full name and address of business) = \
IF GARNISHEE IS A PARTNERSHIP:
That he/she is a member of a partnership which Garnishee is a partner.
IF GARNISHEE IS A CORPORATION:

That he/she is the pan ONCE ofticial ttle) of Gamishee,

a corporation, organized under the laws of the State of Arizona.
On JUN U 6 2018 , 20. \_, Gamishee was served with the Writ of

Garnishment,

-

 
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1. Have there been previous garnishments in effect? Yes No XK
If the answer is yes, describe below. »~ -
S

 

2. The Garnishee has custody, control, or possession of the following property (non-

earnings), in which the Debtor maintains an interest, as described below: No Accounts Found

Description of Property Approximate. Description of Debtor's
(include full name(s) on accounts) Value ~~. __ Interest in Property

Ni & {, Sy, ~,

 

 

 

 

 

 

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: 3 : \ \
4. N \ \ ;
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3, Garishee anticipates owing to the judgment-debtor in the future the following amounts:

N Amount estimate date or Period Due
N
wih 2. \ \

3. 8 \ \

[oN Ot

The Garnishee mailed a copy of this answer by first-class mail to: (1) Sally‘Ann Johnson

(2) Assistant U.S, Attorney Brendan T, Mockler. ee
\o No. Michael Delwacehic:

Subscribed and sworn to before me tls

My Comnnission expires:

Ay 2d

 

 

 

 
 
  
  
   

 

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&

. KAREN MARMO
NOTARY PUBLIC - ARIZONA
Maricopa County
My Gommigaion Expires

Névembet 4, 2021

 

awa

Bank of America

Legal Order Processing
DE5-024-02-08

PO BOX 15047
Wiimington DE 19850

 
 

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